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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                   CASE:

  DOUG LONGHINI,

               Plaintiff,

    v.

  BELLINO UNIVERSITY DRIVE, LLC,

          Defendant.
  ___________________________________/

                                                COMPLAINT
          Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues BELLINO UNIVERSITY DRIVE,

  LLC (hereinafter “Defendant”), and as grounds alleges:

                                JURISDICTION, PARTIES. AND VENUE

          1.           This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202. The Court has original jurisdiction

  over Plaintiff’s claims arising under 42 U.S.C. § 12181, et seq. pursuant to 28 U.S.C. §§ 1331 and

  1343.

          2.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

          3.           Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, with a

  residence in Miami-Dade County, Florida, and is otherwise sui juris.

          4.           At all times material, Defendant, BELLINO UNIVERSITY DRIVE, LLC, was
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  and is a foreign limited Partnership, with its principal place of business, agents, officers and/or

  offices in Houston, Texas.

          5.          At all times material, Defendant, BELLINO UNIVERSITY DRIVE, LLC, owned

  and operated a commercial plaza property located at 100 University Drive, Pembroke Pines,

  Florida; 8140-8360 Pines Boulevard, Pembroke Pines, Florida; 8330-8384 Pines Boulevard,

  Pembroke Pines, Florida (the “Plaza Property”) 1 . Defendant holds itself out to the public as

  “University Marketplace.”

          6.          Venue is properly located in the Southern District of Florida because Defendant’s

  Plaza Property that is the subject of this Action, is located in Broward County, Florida, and

  Defendant regularly conducts business within Broward County, Florida, and because a substantial

  part(s) of the events or omissions giving rise to these claims occurred in Broward County, Florida

  at the Plaza Property.

                                           FACTUAL ALLEGATIONS

          7.          Although over twenty-seven (27) years have passed since the effective date of

  Title III of the ADA, Defendant has yet to make its Plaza Property accessible to individuals with

  disabilities.

           8.         Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendant continues to discriminate against

  people who are disabled in ways that block them from access and use of Defendant’s Plaza

  Property and the businesses therein.



  1
    The parcels are adjacent to one another and share common areas including walkways, signage and parking.
  Business invitees traverse the property and cross property lines without any indication of separate parcels as they
  visit the various tenants located on the properties. The parcels share one common owner.

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         9.        The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

         10.       Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

  pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI

  has very limited use of his hands and cannot operate any mechanisms which require tight grasping

  or twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating

  without the use of a wheelchair. He is limited in his major life activities by such, including but

  not limited to walking, standing, grabbing, grasping and/or pinching.

         11.       Defendant, owns and operates the Plaza Property which is located in Pembroke

  Pines, Florida that are the subject of this Action. The subject Plaza Property and the businesses

  located therein are open to the public, contain a myriad of different businesses that pay Defendant

  rent and are all located in Pembroke Pines, Florida.

         12.       The individual Plaintiff frequently visits the Plaza Property and tenant businesses

  (including the related parking lots and common areas) to include a visit on or about January 15,

  2020, and encountered multiple violations of the ADA that directly affected his ability to use and

  enjoy the Plaza Property and businesses therein. He often visits the Plaza Property and businesses

  therein, when he is in the area visiting family and friends that reside nearby, and has definite plans

  to return to the Plaza Property within two (2) months of the filing of this Complaint in order to

  avail himself of the goods and services offered to the public at the Plaza Property, if it becomes

  accessible.

         13.       Plaintiff visited the Plaza Property and businesses located therein as a

  patron/customer, and intends to return to the commercial plaza property in order to avail himself

  of the goods and services offered to the public at the Plaza Property. Plaintiff resides near the



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  Plaza Property, approximately twenty-nine (29) miles from the Plaza Property, in the same state

  and the neighboring county as the Plaza Property, regularly frequents the Defendants’ Plaza

  Property for its intended purposes, and intends to return to the commercial plaza property within

  two (2) months’ time.

         14.      The Plaintiff found the Plaza Property to be rife with ADA violations. The

  Plaintiff encountered architectural barriers at the subject commercial plaza property, and wishes

  to continue his patronage and use of the commercial plaza property and the business therein.

         15.       The Plaintiff, DOUG LONGHINI, has encountered architectural barriers that are

  in violation of the ADA, at the Plaza Property. The barriers to access at Defendant’s Plaza

  Property have each denied or diminished Plaintiff’s ability to visit the Plaza Property and

  businesses therein and likewise endangered his safety. The barriers to access, which are set forth

  below, have accordingly posed a risk of injury(ies), embarrassment, and discomfort to Plaintiff,

  DOUG LONGHINI, and others similarly situated.

         16.       Defendant owns and operates a place of public accommodation as defined by the

  ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendant is

  responsible for complying with the obligations of the ADA. The place of public accommodation

  (the buildings and business property that is the subject of this Action for their violations of the

  ADA) that Defendant owns and operates, is the Plaza Property referenced above.

         17.       Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Plaza Property, including, but not necessarily limited to the allegations in Paragraph 19

  of this Complaint. Plaintiff has reasonable grounds to believe that he will continue to be subjected

  to discrimination at the Plaza Property and businesses therein which are open to the public and in



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   violation of the ADA. Plaintiff desires to visit the Plaza Property not only to avail himself of the

   goods and services available at the Plaza Property, but to also assure himself that this commercial

   plaza property is in compliance with the ADA, so that he and others similarly situated will have

   full and equal enjoyment of the commercial plaza property without fear of discrimination.

          18.       Defendant has discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the properties the businesses thereon, in a manner prohibited by 42

   U.S.C. § 12182 et seq.

          19.       Defendant has discriminated, and continues to discriminate, against Plaintiff in

   violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

   January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

   less). A list of the violations that Plaintiff encountered during his visit to the Defendant’s

   commercial plaza property and businesses therein, include, but are not limited to, the following:

   COMMON AREAS

          A. Parking

 i.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

      located on an excessive slope. Violation: There are accessible parking spaces located on an

      excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

      Standards, whose resolution is readily achievable.

ii.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

      aisles are located on an excessive slope. Violation: There are accessible parking space access

      aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

      of the 2010 ADA Standards, whose resolution is readily achievable.



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            B. Entrance Access and Path of Travel

  i.     The Plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

         Violation: There are curb ramps at the facility that contain excessive slopes, violating Section

         4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose

         resolution is readily achievable.

ii.      The Plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

         2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

         of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

         achievable.

iii.     The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

         Violation: There are inaccessible routes between sections of the facility. These are violations

         of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

         303, 402 and 403, whose resolution is readily achievable.

iv.      There are protruding objects on the path of travel at the facility that present a hazard of

         colliding with them, violating Section 4.4.2 of ADAAG and Section 307.4 of the 2010 ADA

         Standards, whose resolution is readily achievable.

      Este’s Mucho Perro

            A. Public Restrooms

  i.     There are permanently designated interior spaces without proper signage, violating Section

         4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

         whose resolution is readily achievable.

ii.      The Plaintiff had difficulty using the doorknobs on the restroom area door and the restroom

         door without assistance, as they require tight grasping. Violation: The restroom area doors have

         non-compliant hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the

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       ADAAG and Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is

       readily achievable.

iii.   The Plaintiff could not exit the restroom without assistance, as the required maneuvering

       clearance is not provided. Violation: The restroom door does not provide the required latch

       side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

iv.    The Plaintiff could not use the lavatory without assistance, as the required knee & toe

       clearances are not provided. Violation: There are lavatories in public restrooms without the

       required clearances provided, violating the requirements in Section 4.19.2 and Figure 31 of the

       ADAAG and Sections 306 and 606.2 of the 2010 ADA Standards, whose resolution is readily

       achievable.

 v.    The Plaintiff could not enter the accessible toilet compartment without assistance, as the

       required maneuvering clearance is not provided due to the location of a trashcan. Violation:

       The accessible toilet compartment does not provide the required latch side clearance at the

       door violating 28 CFR 36.211, Sections 4.13.6 & 4.17.5 of the ADAAG and Sections 404.2.4

       & 604.8.1.2 of the 2010 ADA Standards, whose resolution is readily achievable.

vi.    The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.




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vii.      The Plaintiff had difficulty using the toilet paper due to the roll not being located within a

          dispenser. Violation: Elements in the restroom are not readily accessible and usable by persons

          with disabilities, violating 28 CFR 36.211, whose resolution is readily achievable.

viii.     The Plaintiff could not transfer to the toilet without assistance, as the rear grab bar is missing.

          Violation: The grab bars in the accessible toilet compartment do not comply with the

          requirements prescribed in Section 4.17.6 of the ADAAG and Sections 604.5.2 and 609 of

          the 2010 ADA Standards, whose resolution is readily achievable.

 ix.      The Plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

          required distance from the side wall. Violation: The water closet in the accessible toilet

          compartment is mounted at a non-compliant distance from the wall in violation of Section

          4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose

          resolution is readily achievable.

  x.      The Plaintiff could not use the soap bottle without assistance, as it requires a tight grasp to

          operate. Violation: The soap dispensers require a tight grasp to operate in violation of Section

          4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA Standards, whose resolution is

          readily achievable.

 xi.      The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

          provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

          and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

       Mi Casita Bakery

             A. Access to Goods and Services

   i.     There is seating provided at the facility that does not comply with the standards prescribed in

          Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

          resolution is readily achievable.

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          B. Public Restrooms

  i.   The Plaintiff could not use the coat hook without assistance, as it is mounted too high.

       Violation: There are coat hooks provided for public use in the restroom, outside the reach

       ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

       604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

ii.    The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

iii.   The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

       provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

       and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

iv.    The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

       clear floor space. Violation: The required clear floor space is not provided next to the toilet,

       violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

       ADA Standards, whose resolution is readily achievable.

 v.    The Plaintiff could not use the soap bottle without assistance, as it requires a tight grasp to

       operate. Violation: The soap dispensers require a tight grasp to operate in violation of Section

       4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA Standards, whose resolution is

       readily achievable.

vi.    The Plaintiff could not transfer to the toilet without assistance, as the rear grab bar is not

       mounted at the required height. Violation: The grab bars do not comply with the requirements




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       prescribed in Section 4.16.4 & Figure 29 of the ADAAG and Section 609.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

    Beverly’s Pet Center

          A. Entrance Access and Path of Travel

  i.   The Plaintiff could not traverse through areas of the store, as the required 36” path isn’t

       provided due to objects that obstruct the path of travel. Violation: There isn’t a continuous path

       of travel connecting all essential elements of the store, in violation of Sections 4.2.1 & 4.3.3

       of the ADAAG, 28 CFR 36.211, and Section 403.5.1 of the 2010 ADA Standards, whose

       resolution is readily achievable.

          B. Public Restrooms

  i.   There are permanently designated interior spaces without proper signage, violating Section

       4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

       whose resolution is readily achievable.

 ii.   The Plaintiff could not use the lavatory outside the accessible toilet compartment without

       assistance, as the required knee and toe clearance is not provided. Violation: There are

       lavatories outside the accessible toilet compartment that don’t provide the required clearances

       violating Section 4.19.2 & Figure 31 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010

       ADA Standards, whose resolution is readily achievable.

iii.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.



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iv.       The Plaintiff could not use the coat hook without assistance, as it is mounted too high.

          Violation: There are coat hooks provided for public use in the restroom, outside the reach

          ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

          604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 v.       The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

          provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

          and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

vi.       The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

          wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

          4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

          readily achievable.

vii.      The Plaintiff could not transfer to the toilet without assistance, as the grab bars are not the

          required length and the rear grab bar is mounted too high. Violation: The grab bars in the

          accessible toilet compartment do not comply with the requirements prescribed in Section

          4.17.6 of the ADAAG and Sections 604.5 & 609 of the 2010 ADA Standards, whose resolution

          is readily achievable.


              20.      The discriminatory violations described in Paragraph 19 are not an exclusive list

       of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of

       public accommodation in order to photograph and measure all of the discriminatory acts violating

       the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

       requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

       presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal

       enjoyment of the commercial plaza property and businesses therein; Plaintiff requests to be


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  physically present at such inspection in conjunction with Rule 34 and timely notice.


         21.          The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendant, Defendant’s buildings, the

  businesses and facilities therein; and have otherwise been discriminated against and damaged by

  the Defendant because of the Defendant’s ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

         22.          Defendant has discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods,          services,   facilities, privileges, advantages or accommodations to

  individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

  that no individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

         23.          Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

  a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

  all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is



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  entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

  U.S.C. § 12205 and 28 CFR 36.505.

         24.        A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, the Plaintiff and those similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, the Plaintiff require an inspection of the

  Defendant’s place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         25.        Notice to Defendant is not required as a result of the Defendant’s failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

         26.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the commercial plaza property owned and

  operated by the Defendant, located in Pembroke Pines, Florida, the interiors, exterior areas, and

  the common exterior areas of the property and businesses therein to make those facilities readily

  accessible and useable to the Plaintiff and all other mobility-impaired persons; or by closing the

  facility until such time as the Defendant cures its violations of the ADA.

         WHEREFORE, the Plaintiff, DOUG LONGHINI, respectfully requests that this Honorable

  Court issue (i) a Declaratory Judgment determining Defendant at the commencement of the subject

  lawsuit is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et

  seq.; (ii) Injunctive relief against Defendant including an order to make all readily achievable

  alterations to the facilities; or to make such facilities readily accessible to and usable by individuals

  with disabilities to the extent required by the ADA; and to require Defendant to make reasonable

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  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such steps that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services; (iii) An award of attorneys’ fees,

  costs and litigation expenses pursuant to 42 U.S.C. § 12205; and (iv) such other relief as the Court

  deems just and proper, and/or is allowable under Title III of the Americans with Disabilities Act.

  Dated: March 31, 2020

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